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                         UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA

UNITED STATES OF AMERICA,

       Plaintiff,
vs.                                                      CASE NO. CASE NO. 14-CR-00075

FERNANDO JOSUE CHANG MONROY,

      Defendant.
__________________________________/

                    DEFENDANT’S RESPONSE TO UNITED STATES’
                           POSITION ON SENTENCING

       The Defendant, FERNANDO JOSUE CHANG MONROY, (CHANG MONROY)
through undersigned counsel hereby responds to the Government’s position on sentencing.
       The Government’s position on sentencing recites facts that clearly illustrate that
Defendant CHANG MONROY was nothing more than a “broker” or, to use the
Government’s term, “middle man.” The Defendant CHANG MONROY admitted that he
purchased aircraft for the purpose of reselling them for use in transporting drugs. What the
Government fails to address is the fact that Conspirator #1 and Conspirator #2 were not
employed by the Defendant CHANG MONROY, did not work for the Defendant CHANG
MONROY, but were independent contractors being paid for their services. Conspirator #1
found an aircraft that the Defendant purchased and resold. To say that the Defendant
exercised control over Conspirator #1 by telling him what type of aircraft he was looking for
and making the ultimate decision to purchase the aircraft is the same as saying that a person
who enters an auto dealership, tells the salesman what vehicle he wants and then makes the
decision to purchase the vehicle is a leader/organizer of the dealership.
       Likewise, Defendant CHANG MONROY had no decision-making authority
regarding Conspirator #2. Further, the Government fails to address the fact that Defendant
CHANG MONROY had no decision-making authority over the ultimate purchasers of the

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aircraft.
       The Defendant, in his Sentencing Memorandum, cited multiple cases in the Eastern
District of Virginia where defendants, with like conduct, were sentenced to 135 months or
less. The Government in its response sites the case of United States vs. Miguel Arnolfo
Valle and United States vs. Luis Alfonso Valle Valle; Case No.: 14-cr-135-LO.
       The Valle Brothers, as they were known, received sentences of 360 months. In no
way can the Defendant CHANG MONROY be put in the same category as the Valle
Brothers. The Valle Brothers were responsible for tens of thousands of kilos of cocaine.
During their reign, they ran the drug trafficking industry in Honduras. Not one gram of
cocaine moved through Honduras without first going through the Valle Brothers.
       The Valle Brothers were brought to the United States in December of 2014. The
Valle Brothers set out on a course to force the Government to go to trial. They continued to
battle the Government for over a year, filing Motions to Dismiss, Motions for Release of
Brady, Motion for Pre-Trial Hearing on Admissibility of Co-Conspirator’s Statements,
Motions to Strike Surplusage, Motions to Suppress Title III Interceptions, and various Sealed
Motions. Finally, after a year of forcing the Government to respond to their motions and
prepare for trial, the Valle Brothers decided to plead guilty in January of 2016.
       There is no comparison between the Valle Brothers, who ruled the drug trafficking
world in the entire country of Honduras, and the Defendant CHANG MONROY and his
purchase and sale of aircraft. Rather, the Defendant CHANG MONROY, in his request for
a variance, provided the Court with comparable defendants and the sentences of individuals
in the Eastern District of Virginia whose cases involve similar, if not more serious, criminal
conduct than that of Defendant CHANG MONROY.
       WHEREFORE, the Defendant CHANG MONROY reiterates his requests for the
Court to grant the Objection to the 2-Level increase for leader/organizer and impose a
sentence with a downward variance of 135 months.




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                                         Respectfully submitted,

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                            CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that the foregoing document was electronically filed with the
Clerk of the Court using CM/ECF on this 16th day of August, 2016, which will send an
electronic copy to Erik S. Siebert, Assistant United States Attorney, Richmond, Virginia.



                                         s/ Amy L. Austin
                                         AMY L. AUSTIN, ESQUIRE




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